Case: 1:18-cv-05369 Document #: 180 Filed: 07/23/20 Page 1 of 1 PageID #:4297

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Ubiquiti Networks, Inc.
                                        Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 23, 2020:


        MINUTE entry before the Honorable Gary Feinerman: It appears from the status
report [179] that the parties continue to discuss disclosure of their respective files. The
parties are strongly encouraged to be as cooperative as possible with each other. This is
not a game; it is an effort to share information so that the parties can have a productive
settlement conference on 9/3/2020. If this effort falls through and the court conducts its
own forensic examination into which side (if any) acted cooperatively and which side(s)
acted unreasonably, it will be an unfortunate day for the side(s) found to have acted
unreasonably.Mailed notice.(jlj, )




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